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 8                             UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10
                                      SAN JOSE DIVISION
11

12    IN RE FACEBOOK INTERNET                       Case No. 5:12-MD-2314-EJD
      TRACKING LITIGATION
13                                                 [PROPOSED] ORDER CERTIFYING
                                                   SETTLEMENT CLASS; GRANTING
14                                                 PRELIMINARY APPROVAL OF
                                                   CLASS ACTION SETTLEMENT
15                                                 PURSUANT TO FEDERAL RULE OF
                                                   CIVIL PROCEDURE 23(e)(1); AND
16                                                 APPROVING FORM AND CONTENT
                                                   OF CLASS NOTICE
17

18
      THIS DOCUMENT RELATES TO
19    ALL ACTIONS

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     CASE NO. 5:12-MD-2314-EJD, [PROPOSED] ORDER CERTIFYING STMLT. CLASS; GRANTING PRELIM.
     APPROVAL OF CLASS ACTION STMLT.; AND APPROVING FORM AND CONTENT OF CLASS NOTICE


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 1            WHEREAS, Plaintiffs Perrin Davis, Dr. Brian Lentz, Michael Vickery, and Cynthia Quinn

 2   (the “MDL Plaintiffs”), Plaintiffs in the related State Court Action Ung, et al. v. Facebook, Inc.,

 3   No. 2012-1-CV-217244 (Cal. Super. Ct.) (“State Court Plaintiffs”) and Defendant Meta Platforms,

 4   Inc., formerly Facebook, Inc. (“Meta” or “Defendant”) (collectively “Parties”), entered into a

 5   Settlement Agreement1 (ECF No. 233-1) on February 14, 2022, which, together with the exhibits

 6   and appendices thereto, sets forth the terms and conditions for a proposed resolution of this

 7   litigation and for its dismissal with prejudice;

 8            WHEREAS, this Court has reviewed the Settlement entered into by the Parties, all exhibits

 9   thereto, the record in this case, and the Parties’ arguments;

10            WHEREAS, this Court preliminarily finds, for the purpose of settlement only, that the

11   Settlement Class meets all the prerequisites of Federal Rule of Civil Procedure 23 for class

12   certification, including numerosity, commonality, typicality, predominance of common issues,

13   superiority, and that the Plaintiffs and Lead Counsel are adequate representatives of the Settlement

14   Class;

15             GOOD CAUSE APPEARING, IT IS HEREBY ORDERED AS FOLLOWS:

16            1.     All terms and definitions used herein have the same meanings as set forth in the

17   Settlement Agreement.

18                 Preliminary Certification of Settlement Class for Purpose of Settlement Only

19            2.     The Settlement is hereby preliminarily approved as fair, reasonable, and adequate

20   such that notice thereof should be given to members of the Settlement Class. Under Federal Rule

21   of Civil Procedure 23(b)(3), the Settlement Class, as set forth in paragraphs 1.39 and 2.1 of the

22   Settlement Agreement and defined as follows, is preliminarily certified for the purpose of

23   settlement only:

24                   All persons who, between April 22, 2010 and September 26, 2011,

25                   inclusive, were Facebook Users in the United States that visited non-

26                   Facebook websites that displayed the Facebook Like button.

27
     1 All capitalized terms not defined herein have the same meaning as in the Settlement Agreement, which
28   is provided as Exhibit 1 to the Named Plaintiffs’ Motion for Preliminary Approval.
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 1   The Settlement Class excludes Meta and any and all of its current and former predecessors,

 2   successors, assigns, parents, subsidiaries, affiliates, directors, officers, employees, agents,

 3   representatives, and attorneys, and any and all of the parents’, subsidiaries’, and affiliates’ current

 4   and former predecessors, successors, assigns, directors, officers, employees, agents,

 5   representatives, and attorneys. The Settlement Class also excludes counsel for any Party in any of

 6   the Actions and any judicial officer presiding over the Actions, or any member of his or her

 7   immediate family or of his or her judicial staff. The Settlement Class also excludes members who

 8   timely exercised their right to exclude themselves pursuant to the procedures described in the

 9   Notice and/or in Section 8 of the Settlement Agreement. The Settlement Class also excludes the

10   Settlement Administrator and any and all of its predecessors, successors, assigns, parents,

11   subsidiaries, affiliates, directors, officers, employees, agents, representatives, and attorneys, and

12   any and all of the parents’, subsidiaries’, and affiliates’ present and former predecessors,

13   successors, assigns, directors, officers, employees, agents, representatives, and attorneys. The Class

14   also excludes Class Counsel, counsel for any plaintiff in any consolidated or related action listed in

15   Exhibit A to the Settlement Agreement, and any and all of their predecessors, successors, assigns,

16   parents, subsidiaries, affiliates, directors, officers, employees, agents, representatives, and

17   attorneys.

18          3.      If the Settlement Agreement is not finally approved by this Court, or if such final

19   approval is reversed or materially modified on appeal by any court, this Order (including but not

20   limited to the certification of the class) shall be vacated, null and void, and of no force or effect,

21   and Defendant and Plaintiffs shall be entitled to make any arguments for or against certification for

22   litigation purposes.

23          4.      Lead Counsel and the Plaintiffs are appointed as adequate representatives of the

24   Settlement Class. David A. Straite of DiCello Levitt Gutzler LLC and Steven G. Grygiel of Grygiel

25   Law LLC are hereby appointed as Lead Class Counsel. Jay Barnes of Simmons Hanly Conroy LLC

26   is hereby appointed as Chair of the Plaintiffs’ Counsel Executive Committee. Lead Counsel and

27   Mr. Barnes together are referred to herein as Class Counsel and shall represent the Settlement Class.

28          5.      The Court also re-appoints the other members of the Plaintiffs’ Counsel Executive
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 1   Committee: William H. “Billy” Murphy, Jr. of Murphy Falcon Murphy; Barry Eichen of Eichen

 2   Crutchlow Zaslow LLP; Paul Kiesel of Kiesel Law LLP; Stephen Gorny of the Gorny Law Firm,

 3   LC; James Frickleton of Bartimus Frickleton Robertson Rader; William M. Cunningham, Jr. of

 4   Burns, Cunningham & Mackey, P.C.; and Andrew J. Lyskowski of Bergmanis Law Firm LLC.

 5          6.      The Court also re-appoints former Hawai‘i Attorney General Margery Bronster to

 6   the AG/Settlement Advisory Committee, and appoints her as Chair of the Committee.

 7                                     Notice to the Settlement Class

 8          7.      The Court approves the Notice Plan, Notice of Proposed Class Action Settlement,

 9   Claim Form, and Opt-Out Form, which are attached to the Settlement Agreement as Exhibits B-E,

10   and finds that their dissemination substantially in the manner and form set forth in the Settlement

11   Agreement meets the requirements of Federal Rule of Civil Procedure 23 and due process,

12   constitutes the best notice practicable under the circumstances, and is reasonably calculated, under

13   the circumstances, to apprise members of the Settlement Class of the pendency of the Actions, the

14   effect of the proposed Settlement (including the releases contained therein), the anticipated Motion

15   for a Fee and Expense Award and for Service Awards, and their rights to participate in, opt out of,

16   or object to any aspect of the proposed Settlement.

17          8.      By April 30, 2022 [thirty (30) days after the issuance of this Order], Defendant shall,

18   for the purpose of facilitating Notice, provide the Settlement Administrator with names and email

19   addresses for members of the Settlement Class.

20          9.      By April 14, 2022 [fourteen (14) days after the issuance of this Order], Defendant

21   shall pay or cause to be paid into the Escrow Account a portion of the Settlement Fund that will

22   cover the Administrative Costs associated with Notice.

23          10.     The Settlement Administrator shall provide Notice consistent with the Notice Plan

24   outlined in Exhibit B, and Notice shall be disseminated to Settlement Class Members by the Notice

25   Date on July 14, 2022 [not later than seventy-five (75) days after receipt of information from

26   Defendant].

27                                      Settlement Administration

28          11.     The Court appoints Angeion Group to serve as the Settlement Administrator.
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 1   Angeion Group shall supervise and administer the notice procedures, establish and operate the

 2   Settlement Website, administer the claims processes, distribute cash payments according to the

 3   processes and criteria set forth in the Settlement Agreement, and perform any other duties that are

 4   reasonably necessary and/or provided for in the Settlement Agreement.

 5          12.     The Settlement Administrator shall act in compliance with the Amended Stipulated

 6   Protective Order, ECF No. 227, including but not limited to making all necessary efforts and

 7   precautions to ensure the security and privacy of Settlement Class Member information and protect

 8   it from loss, misuse, unauthorized access and disclosure, and to protect against any reasonably

 9   anticipated threats or hazards to the security of Settlement Class Member information; not using

10   the information provided by Defendant or Settlement Class Counsel in connection with the

11   Settlement or this Notice Plan for any purposes other than providing notice or conducting claims

12   administration; and not sharing Settlement Class Member information with any third parties

13   without advance consent from the Parties.

14          13.     Settlement Class Members who wish to make a Claim must do so by submitting a

15   Claim Form by September 22, 2022 [seventy (70) days after the Notice Date outlined in paragraph

16   10, above], in accordance with the instructions contained therein. The Settlement Administrator

17   shall determine the eligibility of Claims submitted and allocate the Settlement Funds in accordance

18   with the Settlement Agreement.

19          14.     Settlement Class Members who wish to object to the Settlement must object in

20   writing and: (a) clearly identify the case name and number; (b) include the Objector’s full name,

21   address, telephone number, email address; Facebook account URL (if reasonably available); the

22   email address and telephone number associated with the Settlement Class Member’s Facebook

23   account; and his or her signature; (c) include the full name, address, telephone number, and email

24   address of the Objector’s counsel (if the Objector is represented by counsel); and (d) state whether

25   the Objection applies only to the Objector, to a specific subset of the Settlement Class, and also

26   state with specificity the grounds for the objection, including any legal and factual support and any

27   evidence in support of the Objection. Objections must be filed with the Court or post-marked by

28   September 12, 2022 [no later than sixty (60) days from the Notice Date outlined in paragraph 10,
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 1   above], to the Court at the following address: Class Action Clerk, United States District Court for

 2   the Northern District of California, 280 South 1st Street, San Jose, California 95113.

 3          15.     Any Settlement Class Member who seeks to be excluded from the Settlement Class

 4   must submit a request for exclusion, either using the Opt-Out Form or providing other written

 5   request, which must be sent electronically or postmarked by September 12, 2022 [no later than

 6   sixty (60) days from the Notice Date outlined in paragraph 10, above]. If the Settlement Class

 7   Member chooses to request exclusion from the Settlement without an Opt-Out Form, such request

 8   must be timely sent by U.S. mail to the Settlement Administrator, requesting exclusion, providing

 9   their name, address, a signature, the name and number of the Action, and a clear and explicit

10   statement that they wish to be excluded from the Settlement. The date of the postmark on the

11   envelope containing the written request to opt-out shall be the exclusive means used to determine

12   whether a request to opt-out has been timely submitted. In the event a postmark is illegible, the date

13   of mailing shall be deemed to be three (3) days prior to the date that the Settlement Administrator

14   received a copy of the request to opt-out of the Settlement. The Settlement Class Member must

15   pay for postage. Any member of the Settlement Class who does not file a valid and timely request

16   for exclusion shall be bound by the final judgment dismissing the Action on the merits with

17   prejudice.

18                                         Final Fairness Hearing

19          16.     The Final Fairness Hearing shall be held by the Court on October 27, 2022,

20   beginning at 9:00 a.m., to determine whether the requirements for certification of the Settlement

21   Class have been met; whether the proposed settlement of the Actions on the terms set forth in the

22   Settlement should be approved as fair, reasonable, adequate, and in the best interests of the

23   Settlement Class Members; whether Settlement Class Counsel’s motion or application for Fees and

24   Expense Award and application for the Service Awards should be approved; and whether final

25   judgment approving the Settlement and dismissing the Actions on the merits with prejudice against

26   the Named Plaintiffs and all other Settlement Class Members should be entered. The Final Fairness

27   Hearing may, without further notice to the Settlement Class Members (except those who have filed

28   timely and valid objections and requested to speak at the Final Fairness Hearing), be continued or
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 1   adjourned by order of the Court.

 2          17.     Any Objector who timely submits an Objection has the option to appear and request

 3   to be heard at the Final Fairness Hearing, either in person or through the Objector’s counsel. Any

 4   Objector wishing to appear and be heard at the Final Fairness Hearing must include a Notice of

 5   Intention to Appear in the body of the Objector’s Objection. Objectors who fail to submit or include

 6   such timely Notice of Intention to Appear may not speak at the Final Fairness Hearing without

 7   permission of the Court.

 8          18.     By August 23, 2022 [not later than sixty-five (65) days before the Final Fairness

 9   Hearing], Class Counsel shall file all papers in support of the application for the Final Approval

10   Order and Final Judgment, and any Motion for a Fee and Expense Award and/or for Service

11   Awards, and shall serve copies of such papers upon Defense Counsel and upon any objectors who

12   have validly complied with paragraphs 11 and 14 of this Order. All opposition papers shall be filed

13   by September 22, 2022 [the last day to file a Claim Form, Objection, or Opt-Out Form], and any

14   reply papers shall be filed by October 13, 2022 [twenty-one (21) days after the last day to file a

15   Claim Form, Objection, or Opt-Out of the Settlement].

16          19.     Lead Counsel’s motion or application for a Fee and Expense Award and for Service

17   Awards will be considered separately from the fairness, reasonableness, and adequacy of the

18   Settlement. Any appeal from any order relating solely to Settlement Class Counsel’s Motion for a

19   Fee and Expense Award, and/or for Service Awards, or any reversal or modification of any such

20   order, shall not operate to terminate, vacate, or cancel the Settlement.

21          20.     Defense Counsel and Class Counsel are hereby authorized to utilize all reasonable

22   procedures in connection with the administration of the Settlement which are not materially

23   inconsistent with either this Order or the Settlement Agreement.

24          IT IS SO ORDERED.

25
            Dated: March 31, 2022                  _______________________________________
26                                                 Hon. Edward J. Davila
                                                   United State District Judge
27

28
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